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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                   Case Number: 8:05CR288

                                                     USM Number: 20331-047

DWAYNE YOUMANS
                       Defendant
                                                     RICHARD H. MCWILLIAMS

                                                     Defendant’s Attorney
___________________________________

                              JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 1 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                                                Date Violation
    Violation Number                   Nature of Violation                       Concluded


            1              Leaving the District Without Permission             August 22, 2011

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 2 through 5 of the Petition are dismissed on the motion of the United States .

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                      June 12, 2012

                                                                              s/ Joseph F. Bataillon
                                                                        United States District Judge

                                                                                      June 12, 2012
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                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of three (3) months.

       (X)     The defendant shall self-surrender to the United States Marshal on 6/13/2012 at
               9:00 a.m.


                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________,
______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of
_______________, _____ to _________________________________, with a certified copy of
this judgment.


                                                     __________________________________
                                                            UNITED STATES WARDEN


                                                  By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of _______________, ______


                                                     __________________________________
                                                            UNITED STATES WARDEN


                                                  By:__________________________________
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                                       SUPERVISED RELEASE

The defendant’s current term of supervised release is revoked. No further term of supervised
release is imposed.


                               CRIMINAL MONETARY PENALTIES

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                Total Restitution

    $100.00 (PAID IN FULL)


The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

        (X)      The interest requirement is waived.


                                                    FINE

        No fine imposed.

                                              RESTITUTION

        No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
